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7
8            IN THE UNITED STATES DISTRICT COURT FOR THE
9                     EASTERN DISTRICT OF CALIFORNIA
10
11 UNITED STATES OF AMERICA,     )          CR. NO. S-05-0238-FCD
                                 )
12                Plaintiff,     )
                                 )          SECOND STIPULATION AND ORDER
13                               )          REVISING BRIEFING SCHEDULE
        v.                       )          AND SETTING NEW DATE
14                               )          FOR MOTIONS HEARING
                                 )
   DALE C. SCHAFER,
15 MARION P. FRY,   and          )
                                 )          Date: January 20, 2006
    aka Mollie P. Fry,           )          Time: 2:00 p.m.
16                               )          Hon. Frank C. Damrell, Jr.
                  Defendants.    )
17 ______________________________)
18      It is hereby stipulated and agreed, by and between the
19 defendants, Dale Schafer and Marion Fry, by and through counsel,
20 J. Tony Serra, and Laurence Lichter, and the United States,
21 through its counsel, Assistant United States Attorney Anne Pings,
22 to vacate the motions hearing date of December 21, 2005, and to
23 set a new motions hearing date of January 20, 2006, at 2:00 p.m.
24 This specially-set hearing time was approved by the Court's
25 deputy clerk.
26      The defendants previously sought and received additional
27 time to file their affirmative motions.       On October 4, 2005, the
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1 defendants filed 17 pre-trial motions, all requiring a response.
2 The prosecutor previously sought additional time to respond and
3 has filed oppositions to 11 of the motions already but seeks
4 additional time to research and file meaningful responses to the
5 remaining 6 motions. The parties have agreed to the following
6 schedule:                     Current Date       New Date
7 Gov't oppositions due:        12/5/05            No later than 12/21/05
8 Def's replies due             12/12/05           No later than 1/13/06
9 Motions Hearing               12/21/05           1/20/06 at 2:00 p.m.
10        Time would be excluded under the Speedy Trial Act for the
11 pendency of motions.
12        A staff member from the office of Mr. Serra and Mr. Lichter
13 represented to the undersigned prosecutor that she had personally
14 spoken with the attorneys for both defendants and that both
15 attorneys agreed to the schedule and authorized the prosecutor to
16 sign this stipulation on their behalf.
17 DATED: December 2, 2005                    Respectfully submitted,
18                                            McGREGOR W. SCOTT
                                              United States Attorney
19
                                              /s/ Anne Pings
20                                            Assistant U.S. Attorney
21                                            /s/ Laurence J. Lichter
                                              by Asst. U.S. Attorney Pings
22                                            with permission
23                                            /s/ J. Tony Serra
                                              by Asst. U.S. Attorney Pings
24                                            with permission
25        IT IS SO ORDERED.
26
     Dated: December 5, 2005                  /s/ Frank C. Damrell Jr.
27                                            HON. FRANK C. DAMRELL, JR.
                                              UNITED STATES DISTRICT JUDGE
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